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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA


     JOHN C. EASTMAN, et al.,                        Civil Action No.: 8:22cv99
                            Plaintiffs,
                     v.

     BENNIE G. THOMPSON, et al.,

                           Defendants.


                            DECLARATION OF JOHN C. EASTMAN


  I, John C. Eastman, declare as follows:

     1. I have personal knowledge of the following facts:

     2. I was employed as a law professor at the Dale E. Fowler School of Law until January 14,

         2021.

     3. In addition to my teaching duties, I engaged in the practice of law, both as a supervising

         attorney for a constitutional jurisprudence clinic and on behalf of outside clients, whom I

         typically represented pro bono through my affiliation with the Claremont Institute’s Center

         for Constitutional Jurisprudence        Those outside representations were expressly

         acknowledged and approved by Chapman University in my employment contract, a true and

         correct copy of which is attached hereto as Exhibit A. In the course of this practice, I made

         incidental use of my Chapman email address. This use included privileged communications

         and attorney work product.

     4. Professors engaging in part time law practice was encouraged by the University. Professors

         maintaining an outside law practice was considered favorably by the University in making

         promotion and compensation decisions.

     5. During the period covered by the subpoena I represented retained clients, pro bono clients,
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         and clients represented by the law school’s Constitutional Jurisprudence Clinic. With

         respect to all of these representations, I made incidental use of law school email and other

         law school resources. It is my understanding attorney client communications and attorney

         work product produced through these representations remains in the custody of Chapman.

    6.   In the aftermath of the 2000 presidential election, I was involved in some of post-election

         litigation, was called as an expert witness by the Florida Legislature’s Select Joint

         Committee on the 2000 Presidential Election, and even retained by the Florida Legislature

         to advise it in the drafting of a resolution that would protect its electoral votes. For all of

         these matters, I utilized my professional Chapman University email and office address, and

         with the enthusiastic support of the Chapman law school Dean, also utilized the research

         services of the Chapman law library and Chapman law students, as this work was clearly in

         line with my scholarly endeavors and my contractual obligations for public interest service.

         No one ever suggested that such use of Chapman’s resources was “unauthorized”; quite the

         contrary, the University touted that work at the time as an indication of my nationally-

         recognized expertise and the phenomenal opportunity it afforded to the students who were

         able to work with me on the matter.

    7. In making this declaration, it is not my intent to waive any previously asserted privileges

         including the Fifth Amendment.

                  Executed on January 23, 2022 in New Mexico.

                                                       /s/ John C. Eastman

                                                       ____________________________

                                                       John C. Eastman


                                                       Respectfully submitted,
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